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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 11-20427-WILLIAMS/TURNOFF


   DISNEY ENTERPRISES, INC.,
   TWENTIETH CENTURY FOX FILM CORPORATION,
   UNIVERSAL CITY STUDIOS PRODUCTIONS LLLP,
   COLUMBIA PICTURES INDUSTRIES, INC., and
   WARNER BROS. ENTERTAINMENT INC.,

   Plaintiffs,

   v.

   HOTFILE CORP., ANTON TITOV, and
   DOES 1-10.

   Defendants.
   ____________________________________/

   HOTFILE CORP.,

   Counterclaimant,

   v.

   WARNER BROS. ENTERTAINMENT INC.,

   Counterdefendant.
   ____________________________________/

                  DECLARATION OF LUKE C. PLATZER IN OPPOSITION TO
                 DEFENDANTS’ MOTIONS IN LIMINE AND DAUBERT MOTION


                                  [CONFIDENTIAL]

                  [FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER]




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              I, Luke C. Platzer, hereby declare as follows:
              1.       I am an partner at the law firm Jenner & Block LLP and represent the Plaintiffs
       Disney Enterprises, Inc., Twentieth Century Fox Film Corporation, Universal City Studios
       Productions LLLP, Columbia Pictures Industries, Inc., and Warner Bros. Entertainment Inc.
       (collectively “Plaintiffs”) in the above-captioned action. I submit this declaration in support of:
                   a. Plaintiffs’ Opposition to Defendants’ Motion to Preclude Use of the Pejorative
                       Terms “Piracy,” “Theft,” and “Stealing” (and Their Derivatives).
                   b. Plaintiffs’ Opposition to Defendants’ Motion in Limine to Preclude Evidence
                       Concerning Financial Information Regarding Lemuria Communications Inc.
                   c. Plaintiffs’ Memorandum of Law in Opposition to Defendants’ Motion in Limine
                       to Preclude Testimony, Evidence, or Argument Concerning Hotfile’s Payment or
                       Non-Payment of Taxes.
                   d. Plaintiffs’ Opposition to Defendants’ Motion in Limine to Preclude Testimony,
                       Evidence, or Argument Concerning Megaupload.
                   e. Plaintiffs’ Opposition to Hotfile Corporation and Anton Titov’s Daubert Motion
                       to Exclude the Testimony and Opinions of Scott Zebrak.
              2.       I make this declaration based on my personal knowledge, including personal
       knowledge acquired from colleagues whom I have supervised on this matter. If called to testify,
       I would testify as follows:
  I.      Exhibits Relevant to Plaintiffs’ Opposition to Defendants’ Motion to Preclude Use of
          the Pejorative Terms “Piracy,” “Theft,” and “Stealing” (and Their Derivatives).
              3.       Attached hereto as Exhibit 1 is a true and correct copy of Defendants’
       Designations of Deposition Testimony for Trial, served by Defendants on October 15, 2013.
              4.       Attached hereto as Exhibit 2 is a true and correct copy of excerpts of the
       deposition of David Kaplan, taken on October 12, 2011 in the above-captioned case.
              5.       Attached hereto as Exhibit 3 is a true and correct copy of excerpts of the
       deposition of Yangbin Wang, taken on December 22, 2011.
              6.       Attached hereto as Exhibit 4 is a true and correct copy of an email dated January
       31, 2011 from
                                                identified as Defendants’ Trial Exhibit 116.




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  II.




 III.




 IV.       Exhibits Relevant to Plaintiffs’ Opposition to Defendants’ Motion in Limine to Preclude
           Testimony, Evidence, or Argument Concerning Megaupload.
               10.      Attached hereto as Exhibit 8 is a true and correct copy of excerpts of the
        deposition of                    taken on December 8, 2011 in the above-captioned matter.
               11.      Attached hereto as Exhibit 9 is a true and correct copy of excerpts of the
    deposition of                        taken on December 7, 2011 in the above-captioned matter.
               12.      Attached hereto as Exhibit 10 is a true and correct copy of Defendants’ Draft Joint
    Pretrial Stipulation and Disclosures, served by Defendants on October 2, 2013.
               13.      Attached hereto as Exhibit 11 is a true and correct copy of the Declaration of
    Anton Titov in Support of Defendants’ Opposition to Plaintiffs’ Emergency Motion for Order
    Preserving Evidence, filed with the Court on February 28, 2011 (D.E. 30-1).
  V.       Exhibits Relevant to Plaintiffs’ Opposition to Hotfile Corporation and Anton Titov’s
           Daubert Motion to Exclude the Testimony and Opinions of Scott Zebrak.
               14.      Attached hereto as Exhibit 12 is a true and correct copy of excerpts of the
        deposition of Scott Zebrak, taken on December 20, 2011 in the above-captioned matter.
               15.      Attached hereto as Exhibit 13 is a true and correct copy of excerpts of the
        deposition of Scott Zebrak, taken on January 20, 2012 in the above-captioned matter.
               16.      Attached hereto as Exhibit 14 is a true and correct copy of the Rule 26(a)(2)(B)
        Report of Scott A. Zebrak, dated November 18, 2011.
               17.      Attached hereto as Exhibit 15 is a true and correct copy of the Rule 26(a)(2)(B)
        Report of Scott A. Zebrak, dated January 6, 2012.




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         I declare under penalty of perjury that the foregoing is true and correct.



   Executed on November 6, 2013 at Washington, DC
                                                                       Luke C. Platzer




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